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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


     ARNOLD R. DORMER, JR.,                                        Case No. 11-27934-PJD

             Debtor                                                Chapter 11


 MOTION TO DETERMINE LOAN BALANCES OWED BY REORGANIZED DEBTOR
                  TO POPULAR COMMUNITY BANK



        Comes now Arnold R. Dormer, Jr., the Reorganized Dormer (“Dormer”), by counsel, and

moves the Court, pursuant to the terms of the Confirmed Plan of Reorganization, to determine

proper balances owed by Dormer to Popular Community Bank, also known as Banco Popular

North America and in support of his Motion, would show the Court as follows:

                                                FACTS

       1.      This Chapter 11 case was filed on August 5, 2011.

       2.      On January 27, 2012, Dormer filed his Second Amended Plan of Reorganization

(the “Plan”). Banco Popular North America was listed as a creditor under Class 31 of the Plan.

       3.      On August 30, 2012, the Court entered its Order Confirming Plan [D.E. 652].

       4.      Pursuant to the terms of the confirmed Plan, Banco Popular was listed as a creditor

holding a first priority deed of trust on 4132 Mountain Terrace, Memphis, Tennessee, with an

allowed secured claim of $20,000.


       5.      The effective date of the Plan was October 15, 2012.

       6.      The Debtor is current with all payments under the Plan. In spite of repeated

communications requesting that this creditor recognize the effect of the confirmed Plan and adjust

its records accordingly, it has failed and refused to do so.
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                 WHEREFORE, Dormer prays that the Court make a determination that the principal

  balance owed to Popular Community Bank is as set out in the Plan and Agreed Orders resolving the

  Objections to Confirmation as of the Effective Date and that all payments due under the Plan are

  current, that the Court compel Popular Community Bank to comply with the terms of the Agreed

  Orders, Plan and the Order Confirming Plan and provide correct statements, and for such other relief

  to which he may be entitled.




                                             Respectfully submitted,

                                             BEARD & SAVORY, PLLC

                                             /s/ Russell W. Savory

                                             Russell W. Savory (12786)
                                             Attorney for Arnold R. Dormer, Jr.
                                             119 South Main Street, Suite 500
                                             Memphis, TN 38103
                                             901-523-1110



                                     CERTIFICATE OF SERVICE

       I, Russell W. Savory, do hereby certify that a true and genuine copy of the foregoing pleading

has been served on following parties by electronic notice or U.S. Mail, this 1st day of October, 2018:

Popular Community Bank
P.O. Box 4906
Miami Lakes, FL 33014-8500



                                             /s/ Russell W. Savory
                                             ____________________________________
                                             Russell W. Savory
